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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

BRIDGING BIOSCIENCES, LLC,                          §
                                                    §
        Plaintiff,                                  §
                                                    §        Civil Action No. 3:23-cv-00603-E
v.                                                  §
                                                    §               Jury Trial Demanded
CONSTANCE ESCH; SYNCHROCELL                         §
REGENERATIVE TECHNOLOGIES,                          §
LLC, AND DAVID SHERLEY,                             §
                                                    §
         Defendants.                                §


                  DEFENDANT DAVID SHERLEY’S MOTION TO DISMISS
                           PLAINTIFF’S COMPLAINT

         COMES NOW Defendant, David Sherley (hereinafter “Defendant”), and moves this

Court to dismiss Plaintiff’s Complaint for lack of personal jurisdiction pursuant to Rule 12(b)(2)

of the Federal Rules of Civil Procedure. In support of this Motion, Defendant states as follows:

                                      I.      INTRODUCTION

        1. This matter was improperly brought in the Northern District of Texas as the Plaintiff,

Bridging Biosciences, LLC (hereinafter “Plaintiff”), cannot establish that this Court has personal

jurisdiction over the Defendant. Defendant, an individual, resident of New York, has never been

in Texas for the relevant time in this matter, has never maintained offices in Texas, employees, nor

engaged in any activities that would subject him to jurisdiction in the State of Texas.

                                     II. LEGAL STANDARD

        2. Pursuant to Fed. R. Civ. P. 12(b)(2), a party may move to dismiss a complaint for lack

of personal jurisdiction. The plaintiff bears the burden of establishing that jurisdiction is proper.




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        3. Jurisdiction in federal court requires that a defendant have such minimum contacts with

the forum state that the maintenance of the lawsuit does not offend "traditional notions of fair play

and substantial justice." International Shoe Co. v. Washington, 326 U.S. 310 (1945).

                                         III. ARGUMENT

        4. Defendant David Sherley has never been to Texas, does not own any property in Texas,

and has never purposefully availed himself to any activity in the State of Texas.

        5. The nature of Defendant's work with the Plaintiff does not necessitate physical presence

within Texas. All services provided by Defendant were performed remotely from New York. The

mere fact that services provided remotely could be accessed by users in Texas does not confer

personal jurisdiction, as these activities do not constitute significant contacts.

        6. Defendant has not purposefully directed activities at residents of Texas or purposely

availed himself of the privilege of conducting activities in Texas. Therefore, there is no basis for

asserting either specific or general jurisdiction.

                                         IV. CONCLUSION

        7. For the foregoing reasons, Defendant, David Sherley, respectfully requests that this

Court dismiss the instant action for lack of personal jurisdiction and avoid a grave injustice to the

Defendant.




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Dated: April 22, 2024                            Respectfully submitted,

                                                By: David Sherley
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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this day I electronically filed the foregoing with the Clerk of

the Court using the e-filing portal which will notify all Parties of record.

                                                                  Respectfully submitted,

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